
517 N.W.2d 400 (1994)
246 Neb. 220
STATE of Nebraska ex rel. NEBRASKA STATE BAR ASSOCIATION, Relator,
v.
James Robert BLACKSTONE, Respondent.
No. S-94-265.
Supreme Court of Nebraska.
June 24, 1994.
HASTINGS, C.J., and BOSLAUGH, CAPORALE, FAHRNBRUCH, LANPHIER, and WRIGHT, JJ.
PER CURIAM.
In this disciplinary action a complaint against James Robert Blackstone was filed with the Counsel for Discipline of the Nebraska State Bar Association. On June 6, 1994, a pleading was filed with the Nebraska Supreme Court in which Blackstone voluntarily *401 surrendered his license to practice law. We accept Blackstone's surrender and order Blackstone disbarred.
Although Blackstone took the Nebraska bar examination in July 1991, he was not admitted to the Nebraska bar until February 1993. During the period between taking the exam and being admitted to the Nebraska bar, Blackstone engaged in criminal acts which he did not disclose to the Nebraska bar prior to his admission.
On October 9 and 28, 1991, Blackstone offered forged checks in the amount of $250 and $500 to the Marquette Bank in Minneapolis, Minnesota. Blackstone admits that he presented the forged checks with the intent to defraud. On February 24, 1992, Blackstone was charged with felony forgery. After successfully completing a pretrial diversion program, the charge was dismissed in April 1993.
Blackstone's conduct was discovered by the Nebraska disciplinary office when Blackstone applied for admission to the Minnesota bar. Upon reviewing his application, the Minnesota bar discovered the above described acts and contacted the Nebraska bar. Subsequently, a complaint was filed against Blackstone by the Nebraska Counsel for Discipline.
Pursuant to Neb.Ct.Rule of Discipline 15 (rev. 1992), Blackstone voluntarily surrenders his license to practice law. In his pleading to surrender, Blackstone admits that the allegations contained in the complaint are true and that he has violated Canon 1, DR 1-102(A)(1), (3), and (4) of the Code of Professional Responsibility. Blackstone waives his right to notice and hearing prior to an entry of this court's order.
Blackstone's admissions demonstrate to this court that Blackstone has been engaged in dishonest and fraudulent conduct which will not be tolerated. We thus accept Blackstone's surrender and order him disbarred from the practice of law in Nebraska, effective immediately.
JUDGMENT OF DISBARMENT.
WHITE, J., not participating.
